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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 CASANDRA SALCIDO, AS NEXT                            §
 FRIEND OF MINOR CHILDREN K.L.                        §
 AND C.L., DENISE COLLINS,                            §
 KENNETH LUCAS, AMBER LUCAS,                          §
 INDIVIDUALLY AND AS                                  §
 REPRESENTATIVE OF THE ESTATE                         §
 OF KENNETH CHRISTOPHER                               §
 LUCAS, DECEASED, AND DEIDRE                          §
 MCCARTY, AS NEXT FRIEND OF                           §
 MINOR CHILDREN, K.J.L AND T.J.L.,                    §
      Plaintiffs,                                     §    CIVIL ACTION NO. 4:15-CV-02155
                                                      §
 V.                                                   §           JURY DEMAND
                                                      §
 HARRIS COUNTY, TEXAS, DEPUTY                         §
 DAVID GORDAN, DEPUTY XAVIER                          §
 LEVINGSTON, DETENTION                                §
 OFFICER BRODERICK GREEN,                             §
 DETENTION OFFICER ALICIA                             §
 SCOTT, DETENTION OFFICER JESSE                       §
 BELL, DETENTION OFFICER                              §
 MORRIS THOMAS, AND                                   §
 DETENTION OFFICER ADAM                               §
 KNEITZ,                                              §
      Defendants.                                     §


              DEFENDANT HARRIS COUNTY, TEXAS’S DESIGNATION OF EXPERTS
        Defendant Harris County, Texas, now designates the following persons as expert witnesses

who may be called to testify at the trial of the above cause:




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                                                   I.
                                        RETAINED EXPERTS

1.     Dr. Tom S. Neuman, MD, FACP, FACPM, FUHM
       Emeritus Professor of Medicine
       University of California at San Diego, School of Medicine
       200 West Arbor Drive
       San Diego, California 92103-8676
       (619) 543-6463

        Dr. Neuman will testify, pursuant to Federal Rules of Evidence (“FRE”) 702, 703, and 705
about the death of Kenneth Christopher Lucas (“Mr. Lucas”) on February 17, 2014, including, but
not limited to, his opinion based on the information provided and to a reasonable degree of medical
certainty that asphyxia did not cause or contribute to Mr. Lucas’s death, that Mr. Lucas’s death
was instead caused by his agitated state in association with an enlarged heart, left ventricular
hypertrophy, moderate to severe coronary artery disease, perivascular fibrosis, acute renal failure,
and severe exertion, that Mr. Lucas died of acute cardiac death, and that Mr. Lucas’s death may
have also been caused by a true myocardial infarction. Dr. Neuman will also testify to the other
matters more specifically identified in his report. A copy of Dr. Neuman’s expert report,
curriculum vitae, a list of the cases in which he has previously testified, and his compensation are
attached hereto.

2.     Dr. Binh T. Ly, MD
       Department of Emergency Medicine
       Professor of Emergency Medicine
       Vice Chair of Education
       Director of Emergency Medicine Residency Program
       University of California at San Diego Medical Center
       200 West Arbor Drive
       San Diego, California 92103-8676

        Dr. Binh Ly is a retained expert who will testify, pursuant to Federal Rules of Evidence
(“FRE”) 702, 703, and 705 about the death of Kenneth Christopher Lucas (“Mr. Lucas”) on
February 17, 2014, including, but not limited to, his opinion based on the information provided
that to a reasonable degree of medical certainty Mr. Lucas was not suffering benzodiazepine
withdrawal on February 17, 2014, that his sudden unconsciousness was indicative of a primary
cardiac event rather than respiratory, and that his existing hypertensive and cardiovascular disease
enhanced his risk of sudden cardiac death. Dr. Ly will also testify to the other matters more
specifically identified in his report. A copy of Dr. Ly’s expert report, curriculum vitae, a list of the
cases in which he has previously testified, and his compensation are attached hereto.

3.     Dr. Joseph V. Penn, MD, CCHP, FAPA
       Diplomate, American Board of Psychiatry and Neurology
       Board Certified in General and Forensic Psychiatry
       Board Eligible in Child and Adolescent Psychiatry
       University of Texas Medical Branch



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        Correctional Managed Care
        Mental Health Services
        200 River Pointe Drive, Suite 200
        Conroe, Texas 77304
        (936) 494-4183

         Dr. Joseph Penn is a retained expert who will testify, pursuant to FRE 702, 703, and 705
about Mr. Lucas’s psychiatric and mental-health history preceding his February 17, 2014 death,
the mental-health services provided to Mr. Lucas while incarcerated in the Harris County jail in
February 2014, and the mental health issues, if any, experienced by the minor-children Plaintiffs,
including but not limited to his opinion based on the information provided that to a reasonable
degree of medical certainty Harris County correctional, medical, and mental-health staff were
aware of Mr. Lucas’s anxiety and possible Xanax use, that Mr. Lucas was provided timely and
appropriate medical and mental-health evaluation and treatment, that the Detention Command
Containment Team transported Mr. Lucas to the clinic when necessary for further evaluation,
monitoring, and treatment planning, that HCSO provided reasonable accommodations, that the
medical, mental-health, nursing, and psychiatric care provided by HCSO to Mr. Lucas was
appropriate and exceeded the community and correctional standard of care, and that Mr. Lucas’s
death was not the result of any breach of standard of care or deliberate indifference or failure to
accommodate Mr. Lucas. Dr. Penn will also testify that the HCSO training, policies, and
procedures were appropriate. Dr. Penn will further testify regarding the psychiatric and mental-
health issues, if any, experienced by the minor children, T.J.L., K.J.L., C.L., and K.L., who are
parties to this lawsuit, as a result of their father’s death. Dr. Penn requests an opportunity to conduct
his own mental-health and/or psychiatric examination, as the only information provided is the
subjective observations of Plaintiffs’ expert, Dr. Feltoon. Dr. Penn will also testify to the other
matters more specifically identified in his report. A copy of Dr. Penn’s expert report, curriculum
vitae, a list of the cases in which he has previously testified, and his compensation are attached
hereto.

4.      Dr. John Peters Jr., Ph.D., CLS, CTC
        209 South Stephanie Street, Suite B249
        Henderson, Nevada 89012
        (717) 538-5940

        Dr. John Peters Jr. is a retained expert who will testify, pursuant to FRE 702, 703, and 705
regarding Harris County Sheriff’s Office (“HCSO”) training standards, use-of-force standards,
restraint practices, and related issues, including but not limited to Harris County and HCSO
properly trained their correctional staff according to State of Texas and other generally accepted
law enforcement standards, Harris County and the Harris County Sheriff met and exceeded
national standards, recommendations, and guidelines for the development of use-of-force policies,
HCSO policies and procedures met and/or exceeded national standards, Harris County and HCSO
prohibited hog tying, and Mr. Lucas was not hogtied at any time on February 17, 2017. Dr. Peters
will also testify to the other matters more specifically identified in his report. A copy of Dr. Peters’s
expert report, curriculum vitae, a list of the cases in which he has previously testified, and his
compensation are attached hereto.




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5.     Dr. Esmaeil Porsa, MD, MPH, MBA Candidate (Dec. 2017), CCHP-P, CCHP-A
       Executive Vice President and Chief Strategy and Integration Officer
       Parkland Health and Hospital System
       5201 Harry Hines Boulevard
       Dallas, Texas 75235-7746
       (214) 590-1282

         Dr. Esmaeil Porsa is a retained expert who will testify, pursuant to FRE 702, 703, and 705
regarding the medical staff’s actions when Mr. Lucas was brought to the medical clinic during the
incident made the basis of this lawsuit and the propriety of transporting Mr. Lucas in a prone
position. Dr. Porsa will also testify to the other matters more specifically identified in his report.
A copy of Dr. Porsa’s expert report, curriculum vitae, a list of the cases in which he has previously
testified, and his compensation are attached hereto.

6.     Mr. Gary Pinkerton
       Smith County Pretrial Release & Personal Bond Office, Director
       14361 Willscott Drive
       Tyler, Texas 75703
       (903) 360-8913

        Mr. Gary Pinkerton is a retained expert who will testify, pursuant to FRE 702, 703, and
705 regarding the restraint and transport techniques used during the February 17, 2017, incident
made the basis of this lawsuit (the “incident”), including but not limited to causes of non-lethal
injuries Mr. Lucas sustained during the incident, the reason necessitating his removal from the
cell, the correctional staff’s appropriate, permissible, and reasonable use of force against and
transportation of the combative Mr. Lucas, that Mr. Lucas was not hogtied during the incident,
that correctional officers followed Harris County policy during the cell extraction and
transportation of Mr. Lucas, how Mr. Lucas’s actions contradicted his words that he could not
breathe, training of HCSO officers that meets and exceeds Texas Commission on Law
Enforcement and other State of Texas requirements, the HCSO correctional staff’s numerous
attempts to resolve the situation without using force, and HCSO jail compliance with the Texas
Commission on Jail Standards. Mr. Pinkerton will also testify to the other matters more specifically
identified in his report. A copy of Mr. Pinkerton’s expert report, curriculum vitae, a list of the cases
in which he has previously testified, and his compensation are attached hereto.

7.     Jay Aldis
       Bracewell LLP, Partner
       711 Louisiana Street, Suite 2300
       Houston, Texas 77002-2770
       (713) 221-1381

       Jay Aldis is a retained expert who will testify regarding the reasonableness and necessity
of the attorneys’ fees sought by all parties in this case, if any, and related issues. Mr. Aldis’s
testimony will be based upon his knowledge and experience as a licensed and practicing attorney
in Houston, Harris County, Texas, where he has practiced for approximately twenty-five (25)
years. Mr. Aldis has not yet produced an expert report as the information regarding the attorneys’



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fees sought by Defendants is not yet available. A copy of Mr. Aldis’ curriculum vitae, a list of the
cases in which he has previously testified, and his compensation as an expert are attached hereto.

                                                II.
                                    NON-RETAINED EXPERTS

8.     Captain Jay Coons
       Harris County Sheriff’s Office
       1200 Baker Street
       Houston, Texas 77002
       (713) 755-6044

        Captain Coons will testify, pursuant to Federal Rules of Evidence (“FRE”) 702, 703, and
705, about the law enforcement issues involved in the contact between the sheriff deputies and
detention officers and Kenneth Lucas on February 17, 2014, including, but not limited to, the facts
and circumstances surrounding their obligation and activation to respond to a disturbance in the
Harris County Jail, their attempt to restrain and subdue Mr. Lucas, and the national standards on
which police officers are trained in the use of force. Captain Coons will testify about the policies
and procedures of the Harris County Sheriff’s Office, the deputy’s training, policies and
procedures with regard to the handling of a call of this nature, specifically their training in the
Detention Bureau Containment Team School, and other law enforcement matters relating to the
incident on which this lawsuit is based. Each of Captain Coons’ opinions is set forth in the
Preliminary Report of Jay O. Coons, Ph.D., which is produced in accordance with the Scheduling
Order entered in this cause. A copy of Captain Coons’ expert report, curriculum vitae, a list of the
cases in which he has previously testified, and his compensation are attached to individual
Defendants’ designation of expert witnesses.

       Harris County incorporates by reference as if fully set forth herein each of the experts
designated by any other co-Defendant in this case.

                                        III.
              PERSONS WITH KNOWLEDGE OF FACTS RELEVANT TO THIS LAWSUIT
                            WHO MAY PROVIDE EXPERT TESTIMONY

         The individuals who are listed below are not retained, but may provide expert testimony in
the course of providing testimony regarding their knowledge of facts relevant to this lawsuit. This
list is given in an abundance of caution, and subject to change as the case progresses.

        The following individuals have personal knowledge regarding events and work history
related to the Plaintiffs’ claims in this lawsuit and can be contacted through Mary E. Baker, Senior
Assistant County Attorney, 1019 Congress, 15th Floor, Houston, TX 77002; 713-274-5133; FAX
713-755-8924:

Deputy David Gordon

Detention Officer Riley Scott (f/k/a Alicia Scott)




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        The following individuals have personal knowledge regarding events and work history
related to the Plaintiffs’ claims in this lawsuit and can be contacted through Laura Hedge and Keith
Toler, Assistant County Attorneys, 1019 Congress, 15th Floor, Houston, TX 77002; 713-274-5101;
FAX 713-755-8924:

Deputy Joseph Jameson

Detention Lieutenant Lynette Anderson

Detention Officer Jamail Johnson

Detention Officer Choyce Davis

Detention Officer R. Berrios

Detention Officer J. Lerma

Sgt. L. Fisher

Sgt. G. Hardage

Sgt. D. Ritchie

Sgt. Robert Spurgeon

Sgt. Francisco Garcia

Deputy J. Jameson

Deputy G. Clayton

Deputy David Valverde

Deputy James Hulme

Deputy Christopher Cooke

Deputy John Black

Captain R. Nelson

Dr. Laxrnan Sundar

Nurse Opry

Dr. Dark



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Nurse Ella Buchanan

Lt. Jorge Gonzalez

Detention Lt. Lester Bourgeois

        The following individuals have personal knowledge regarding events and work history
related to the Plaintiffs’ claims in this lawsuit and can be contacted through F. Clinton Gambill,
II, Senior Assistant County Attorney, 1019 Congress, 15th Floor, Houston, TX 77002; 713-274-
5136; FAX 713-755-8924:

Deputy Xavier Levingston

Detention Officer Broderick Green

Detention Officer Jesse Bell

Detention Officer Morris Thomas

Detention Officer Adam Kneitz


                                               IV.
                               CROSS-DESIGNATION OF WITNESSES
        Harris County hereby cross-designates and states it may call any expert witness identified

or designated by Plaintiff and/or co-Defendants, subject to any objections Defendants may make

concerning the designation of those expert witnesses, including, but not limited to, his or her

qualifications.

                                                V.
                                     CROSS-EXAMINATION
        Harris County reserves the right to elicit, by way of cross-examination, opinion testimony

from experts designated and called by all other parties to this suit. Harris County may also call,

as a witness associated with other parties, any expert witness of any party who may be added to

this lawsuit.




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                                                  VI.
                      RIGHT TO WITHDRAW DESIGNATION OF ANY EXPERT
       Harris County reserves the right to withdraw the designation of any expert and to aver

positively that any such previously designated expert will not be called as a witness at trial and to

re-designate same as a consulting expert, who cannot be called by opposing counsel.

                                         VII.
             RIGHT TO ELICIT ANY EXPERT OPINION OR LAY OPINION TESTIMONY
       Harris County reserves the right to elicit any expert opinion or lay opinion testimony at the

time of trial which would be truthful, which would be of benefit to the jury to determine material

issues of fact, and which would not violate of any existing court order or the Federal Rules of

Evidence.

                                             VIII.
                                DESIGNATION OF ADVERSE PARTIES
       Harris County hereby designates, as adverse parties, potentially adverse parties, and/or as

witnesses associated with adverse parties, all parties to this suit and all experts designated by any

party to this suit, even if the designated party is not a party to the suit at the time of trial. In the

event a present or future party designates an expert, but is subsequently dismissed for any reason

from the suit or fails to call any designated expert, Harris County reserves the right to designate

and/or call any such party or any such experts previously designated by any party.

                                             IX.
                              RESERVATION OF ADDITIONAL RIGHTS
       Harris County reserves whatever additional rights it may have with regard to experts,

pursuant to the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the case law

construing same, and the rulings of the trial court, including, but not limited to, the right to

designate rebuttal experts.

                                          X.
                    RESERVATION OF RIGHT TO SUPPLEMENT DESIGNATION
       Harris County reserves the right to supplement this designation with additional

designations of experts within any time limits imposed by the Court or any alterations of same by



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subsequent court order or agreement of the parties pursuant to the Federal Rules of Civil Procedure

and/or Federal Rules of Evidence.


                                             Respectfully submitted,
                                             By: /s/ Laura Beckman Hedge

                                             LAURA BECKMAN HEDGE
                                             Assistant County Attorney
                                             Attorney-in-Charge
                                             Texas Bar No. 11373900
                                             Southern District of Texas No. 12524
                                             Harris County Attorney’s Office
                                             1019 Congress, 15th Floor
                                             Houston, Texas 77002
                                             Phone: (713) 274-5265
                                             Fax: (713) 755-8924
                                             Email: Laura.Hedge@cao.hctx.net

                                             OF COUNSEL:

                                             VINCE RYAN
                                             Harris County Attorney

                                             KEITH A. TOLER
                                             Assistant County Attorney
                                             Texas Bar No. 24088541
                                             Southern District of Texas No. 2599245
                                             Harris County Attorney’s Office
                                             1019 Congress, 15th Floor
                                             Houston, Texas 77002
                                             Phone: (713) 274-5265
                                             Fax: (713) 755-8924
                                             Email: Keith.Toler@cao.hctx.net

                                             ATTORNEYS FOR DEFENDANT
                                             HARRIS COUNTY, TEXAS




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2017, I electronically filed the foregoing Defendant
Harris County, Texas’s designation of expert witnesses on the CM/ECF system, which will
automatically serve a Notice of Electronic Filing on the following parties’ counsel:

Plaintiffs’ Counsel                                Co-Defendants’ Counsel
W. Mark Lanier                                     F. Clinton Gambill, II
Lawrence P. Wilson                                 Mary E. Baker
Benjamin T. Major                                  Harris County Attorney’s Office
The Lanier Law Firm                                1019 Congress, 15th Floor
6810 FM 1960 West                                  Houston, Texas 77002
Houston, Texas 77069
                                                   Edward John Kroger
Jeffrey S. Edwards                                 Brian Campbell
Scott Medlock                                      Kroger Burrus
The Edwards Law Firm                               3100 Weslayan, Suite 300
1101 East 11th Street                              Houston, Texas 77027
Austin, Texas 78702

Roy W. Smith
Jonathan D. Goins
2616 South Loop West, Suite 670
Houston, Texas 77054



                                           By: /s/ Keith A. Toler
                                           Keith A. Toler
                                           Assistant County Attorney




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